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1    Jared Allebest, #325086
2
     Attorney for Plaintiffs
     8978 South Quarry Stone Way
3    Sandy, UT 84094
4
     Cell: (949) 322-3991
     Videophone: (801) 204-9055
5    Email: Jared@Allebest.com
6
                               UNITED STATES DISTRICT COURT
7

8                          CENTRAL DISTRICT OF CALIFORNIA
9
     SUZETTE DASILVA AND ROES I-X                 CASE N0.: 2:21-cv-7726
10
                  Plaintiff,                      COMPLAINT FOR DECLARATORY
11
                                                  AND INJUNCTIVE RELIEF AND
     vs.                                          DAMAGES FOR VIOLATION OF:
12

13   ANTELOPE VALLEY HOSPITAL,                    1. THE PATIENT PROTECTION AND
     ANTELOPE VALLEY HOSPITAL, INC.,              AFFORDABLE CARE ACT;
14
     AND ROES I-X
15                                                2. SECTION 504 OF THE
                  Defendant
16                                                REHABILITATION ACT;

17                                                3. AMERICANS WITH DISABILITIES
18
                                                  ACT;

19                                                4. UNRUH CIVIL RIGHTS ACT;
20
                                                  5. DISABLED PERSONS ACT
21

22
                                                  JURY TRIAL DEMANDED
23
                                      I. INTRODUCTION
24

25
     1. Nearly 11 years after the Affordable Care Act (“ACA) was passed, 30 years after the
     Americans with Disabilities Act (“ADA”) was passed, and 45 years after the
26   Rehabilitation Act was passed, some health care providers still routinely fail to provide
     sign language interpreters and other accommodations to deaf patients, depriving them of
27
     effective communication and denying them equal access to health services. Defendant,
28   the owner and operator of Antelope Valley Hospital, is one such provider.
     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                       1
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     2. Plaintiff Suzette DaSilva, an individual who is deaf, alleges that Defendant failed and
     refused to take the steps necessary to ensure that she was not excluded, denied services,
3    segregated, or otherwise treated differently than other individuals at Antelope Valley
4
     Hospital because of the absence of auxiliary aids and services.

5    3. Plaintiff brings this action alleging discrimination on the basis of disability in violation
     of The Patient Protection and Affordable Care Act (“ACA”), 42 U.S.C. § 18001 et seq.,
6
     Section 504 of the Rehabilitation Act (“Section 504”), 29 U.S.C. § 794, et seq., Title III
7    of the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12182, et seq., and related
     California civil rights laws.
8

9    4. Through this action, Plaintiff seeks declaratory and injunctive relief and damages, as
     well as her attorneys’ fees and the costs of bringing this suit.
10

11                               II. JURISDICTION AND VENUE

12   5. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343 for
13   claims arising under the ADA and Section 504.

14   6. This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 for claims
15
     arising under California law, including, the Unruh Civil Rights Act, Cal. Civ. Code §51,
     et seq. and the Disabled Persons Act, Cal. Civ. Code § 54.1, et seq., both of which
16   expressly incorporate the ADA. Cal. Civ. Code §§ 51(f), 54.1(d).
17
     7. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the acts and
18   omissions giving rise to Plaintiff’s claims occurred within this District.
19
                                            III. PARTIES
20
     8. Plaintiff Suzette DaSilva is, and at all times relevant herein was, a resident of the State
21
     of California. Plaintiff is, and at all times relevant herein was, a qualified individual with
22   a “disability” as defined under the ADA and its implementing regulations (42 U.S.C. §
     12102; 28 C.F.R. § 36.104) and California law (Cal. Gov. Code § 12926); and a
23
     “handicapped person” as defined under Section 504 of the Rehabilitation Act and its
24   implementing regulations (29 U.S.C. § 794, incorporating by reference 29 U.S.C. § 705;
     45 C.F.R. § 84.3(J)). She does not wear hearing aids or cochlear implants of any kind.
25   Her primary language is American Sign Language (ASL). She has a limited ability to
26   read, write, speak, or understand English, and is persons with limited English proficiency
     (LEP) within the meaning of Section 1557, 45 C.F.R. § 92.4.
27

28
     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                             2
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1    9. Defendant Antelope Valley Hospital. is a California Corporation with its principal
2
     place of business in Los Angeles County, California. Defendant Antelope Valley
     Hospital, is, and at all times relevant herein was, the owner, operator, lessor, and/or lessee
3    of Antelope Valley Hospital (hereinafter “Antelope Valley Hospital”). Antelope Valley
4
     Hospital is located at 1600 W Ave. J, Lancaster, California 93534.

5    10. Plaintiff is currently unaware of the true identities of DOES 1-10, inclusive, and will
     seek leave to amend when their true names, capacities, connections, and
6
     responsibilities are ascertained.
7
     11. Plaintiff is informed and believes that each of the Defendants is the agent, ostensible
8
     agent, alter ego, master, servant, trustor, trustee, employer, employee, representative,
9    franchiser, franchisee, lessor, lessee, joint venturer, parent, subsidiary, affiliate, related
     entity, partner, and/or associate, or such similar capacity, of each of the other Defendants,
10
     and was at all times acting and performing, or failing to act or perform, within the course
11   and scope of such similar aforementioned capacities, and with the authorization, consent,
     permission or ratification of each of the other Defendants, and is personally responsible
12   in some manner for the acts and omissions of the other Defendants in proximately
13   causing the violations and damages complained of herein, and have participated, directed,
     and have ostensibly and/or directly approved or ratified each of the acts or omissions of
14   each of the other Defendants, as herein described.
15
     IV. FACTS UPON WHICH ALL CLAIMS ARE BASED
16

17
     12. Plaintiff has been deaf since birth and is therefore substantially limited in the major
     life activity of hearing and communicating via spoken language.
18
     13. American Sign Language (“ASL”) is Plaintiff’s primary language and ASL
19
     interpretation is her preferred auxiliary aid/service.
20
     14. Plaintiff is unable to communicate effectively using notes in written English because
21
     English is not her primary language.
22
     15. Ms. DaSilva went to Antelope Valley Hospital on April 8th, 2011 to undergo a
23
     colonoscopy. The medical records indicate that informed consent was obtained from her
24   after explaining the procedure, risks, and complications to her. However, the record is
     silent on whether or not if an ASL interpreter or VRI was provided before or after this
25   surgical procedure. It is not clear how her consent for this medical procedure was
26   obtained as a Deaf patient.

27   16. On June 18, 2012, Ms. DaSilva went to Antelope Valley Hospital because she was
28
     experiencing dizziness. She had collapsed at a donut shop and emergency medical
     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                            3
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1    services (EMS) was called to help her and take her to Antelope Valley Hospital. The
2
     medical record shows handwritten notes between Ms. DaSilva and “Dennis,” who was to
     do a mental health assessment on her, in which she asked for an ASL interpreter and
3    Dennis asked her if they could write notes back and forth. It is clear from this
4
     handwritten communication that ASL interpreter was not provided to her after she
     requested one. She was left to communicate with a medical professional using pen and
5    paper to discuss her mental health history which should have been done with a qualified
     and certified ASL interpreter present.
6

7    17. Ms. DaSilva went to Antelope Valley Hospital on May 13th, 2013 to undergo a
     colonoscopy. Again, the medical records indicate that informed consent was obtained
8
     from her after explaining the procedure, risks and complications to her. Once more, the
9    record is silent on whether or not if an ASL interpreter or VRI was provided before or
     after this surgical procedure. It is unknown how her consent for this medical procedure
10
     was obtained as a Deaf patient.
11
     18. Once again, Ms. DaSilva went to Antelope Valley Hospital on February 14th, 2014 to
12   undergo a colonoscopy. A review of her medical records from the visit indicate that
13   informed consent was obtained from her after explaining the procedure, risks, and
     complications to her. Yet, her medical record is silent on whether or not if an ASL
14   interpreter or VRI was provided before or after this surgical procedure. It is unclear how
15
     her consent for this medical procedure was obtained as a Deaf patient.

16   19. Suzette DaSilva went to the Antelope Valley Hospital Outpatient Surgery Center on
17
     December 3, 2014 to receive an upper endoscopic examination by Dr. Singh. It is
     unknown if she was provided with an ASL interpreter or VRI during that visit.
18   Furthermore, it does not specify how her consent for this medical procedure was obtained
     as a Deaf patient.
19

20   20. Ms. DaSilva was taken to Antelope Valley Hospital on January 26th, 2016 due to
     some abdominal pain. A computed tomography (CT) of the abdomen and pelvis showed
21
     mild colonic diverticulosis. It appears that her caregiver acted as her ASL interpreter
22   during this medical visit. It is not known if the caregiver is qualified or certified to
     interpret for Ms. DaSilva. There are questions as to whether or not the caregiver was
23
     providing effective communication to Ms. DaSilva under the Americans with Disabilities
24   Act or other federal or state law.

25   21. Ms. DaSilva left for Antelope Valley Hospital on January 8th, 2016 to undergo a
26   colonoscopy with polypectomy. It was determined that she had mild sigmoid
     diverticulosis. The medical records indicate that informed consent was obtained from her
27   after explaining the procedure, risks, and complications to her. Again, the record is silent
28
     on whether or not if an ASL interpreter or VRI was provided before or after this surgical
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1    procedure. It is unknown how her consent for this medical procedure was obtained as a
2
     Deaf patient.

3    22. On January 12th, 2016, Ms. Da Silva had a hemorrhoidectomy at Antelope Valley
4
     Hospital. The records do not state if an ASL interpreter or VRI was provided before or
     after this surgical procedure. It does not specify how her consent for this medical
5    procedure was obtained as a Deaf patient
6
     23. Suzette DaSilva went to the emergency room at Antelope Valley Hospital on May
7    14th, 2016 because she was experiencing respiratory issues in her lungs. The emergency
     staff determined she was suffering from a viral upper respiratory infection (URI). An
8
     ASL interpreter was not provided during her visit because the patient’s caregiver acted as
9    an ASL interpreter. Once again, there are questions regarding whether or not the
     caregiver is qualified or certified to interpret and if she provided effective communication
10
     to Ms. DaSilva under federal or state law.
11
     24. Ms. DaSilva returned to Antelope Valley Hospital on April 6th, 2018 to undergo an
12   upper endoscopy with esophageal dilation to determine if there is any suspected
13   esophageal foreign body or determine why she has an inability to swallow anything after
     being referred to undergo the procedure by Dr. Win on February 20, 2018. It appears that
14   a live ASL interpreter was provided to her to explain the all the risks, benefits, and
15
     alternatives of the procedure via the interpreter including the risks of bleeding,
     perforation, infection, and anesthesia related cardiopulmonary complications. She agreed
16   to the procedure, and it was completed successfully.
17
     25. Suzette DaSilva visited the emergency room at the Antelope Valley Hospital on
18   August 8th, 2018, because she was experiencing pain in her stomach. During her visit at
     the hospital, she made a request for a live, in person ASL interpreter yet she was provided
19
     with VRI for only 15 minutes during her visit. She was not provided with effective
20   communication during her discharge, and she was not able to understand her discharge
     papers when it was provided to her.
21

22   26. On April 3rd, 2019, Ms. Da Silva went to Antelope Valley Hospital to for surgery. It
     is not clear if a live ASL interpreter or VRI was provided for this surgery.
23

24   27. Once again, on May 7th, 2019, Ms. DaSilva went to the emergency room at Antelope
     Valley Hospital because she had fallen and hurt her head, left side of her back, and left
25   knee. This resulted in a headache and back pain for Ms. DaSilva. The medical records for
26   her visit indicate that a live ASL interpreter was not provided. It appears that VRI was
     not provided to her either. The records indicate that the doctor and patient communicated
27   through pen and paper as well as some limited sign language. As a result, there are
28
     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                          5
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1    questions as to whether or not medical staff was providing effective communication to
2
     Ms. DaSilva during this May 7th, 2019, visit.

3    28. Ms. DaSilva made another visit to the emergency room at Antelope Valley Hospital
4
     sometime during August 7th-8th, 2019 in which she complained of chest and/or
     abdominal pain. According to her medical records, a CT scan of the abdomen done
5    showed colitis and she was subsequently sent home with antibiotics. It is not clear from
     the records if live in person ASL interpreter was provided to her or if VRI was provided
6
     to her. However, an ASL interpreter was provided to her when she returned to the
7    hospital on August 10th, 2019 because she started to experience nausea and vomiting
     accompanied by persistent abdominal pain and diarrhea. An ASL interpreter named
8
     “Patti” in which it was discussed if she would be willing to undergo
9    esophagogastroduodenoscopy and colonoscopy for which she subsequently consented to
     the procedures.
10

11   29. Ms. DaSilva made a visit the emergency room on June 4th, 2020, because she was
     suffering from abdominal pain in the left lower area. It was determined that she was
12   suffering from diverticulosis which occurs pockets called diverticula form in the walls of
13   a person’s digestive tract. The inner layer of their intestine pushes through weak spots in
     the outer lining and this pressure makes them bulge out, making little pouches. During
14   her visit during the emergency room, she was not provided with a live in person
15
     interpreter or with VRI. It appears that an interpreter was called but did not show up.
     Records indicate that she communicated with medical professionals at Antelope Valley
16   Hospital via a white board on July 4th, 2020. However, it appears that an ASL interpreter
17
     named “Laurie” came to visit her on the following day of July 5th, 2020, for the discharge
     instructions. What is frustrating about this incident is that an ASL interpreter was not
18   provided for her during her medical emergency when she really needed it but was
     provided with an ASL interpreter the following day after the emergency had passed.
19

20   30. Ms. DaSilva sent a Claim Against A Public Entity to Antelope Valley Hospital
     sometime around December 15th, 2020. (See Exhibit #1) Antelope Valley Hospital sent a
21
     letter to Ms. DaSilva’s attorney on January 28th, 2021 rejecting her governmental claims.
22   (See Exhibit #2).
23
     31. Counsel for Ms. DaSilva sent a demand letter to the Defendants on April 9th, 2021
24   and did not receive a response. (See Exhibit #3) Furthermore, this letter put the
     Defendants on notice regarding Ms. DaSilva’s claims.
25

26   32. A few months later, Ms. DaSilva made a visit the emergency room on July 6th, 2021,
     because she was vomiting and had stomach issues. As always, she asked for a live ASL
27   interpreter, and she was not provided one. She was not offered VRI, and none was
28
     provided to her. There wasn’t even a pen and paper communication between her and her
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1    doctor. She had a helper who communicated with the doctor, but Ms. DaSilva was
2
     completely left out of the conversation and therefore her helper didn’t communicate any
     of her conversation with the doctor to Ms. DaSilva. She was given medication to soften
3    her stool, but she did not receive any effective communication to understand the
4
     medication she was given.

5    33. As a result of the Defendant’s failure to provide effective communication to the
     Plaintiff on July 6th, 2021, Ms. DaSilva’s attorney sent a second demand letter to the
6
     Defendants on August 7th, 2021 and did not receive a response from the Defendants.
7    (See Exhibit #4).
8
     35. The Plaintiff subsequently sent another Claim Against A Public Entity to Antelope
9    Valley Hospital sometime around August 13th, 2021 regarding the Defendant’s failure to
     provide effective communication to the Plaintiff on July 6th, 2021. Antelope Valley
10
     Hospital sent a letter to Ms. DaSilva’s attorney on September 17th, 2021 rejecting her
11   governmental claims. (See Exhibit #5).

12   36. As outlined above, during the period between April 8th, 2011 and July 6, 2021,
13   Plaintiff visited Antelope Valley Hospital on multiple occasions to receive medical
     treatment and rehabilitation services for various medical issues such as colitis, viral upper
14   respiratory infection (URI”), concussion, female rectocele repair, pyelonephritis,
15
     diverticulosis, abdominal pain, and other medical issues.

16   37. Plaintiff’s medical records from Antelope Valley Hospital repeatedly note that she is
17
     deaf, that she uses ASL to communicate, that ASL is her preferred language, and that
     Plaintiff’s hearing loss and use of ASL presents a learning barrier.
18
     38. Plaintiff repeatedly requested an ASL interpreter from staff at Antelope Valley
19
     Hospital during multiple visits to Antelope Valley Hospital. An ASL interpreter was
20   never provided to the Plaintiff and VRI was used sparingly with the Plaintiff. On multiple
     occasions, Plaintiff was denied an ASL interpreter and thus denied a meaningful
21
     opportunity to participate in her medical treatment and rehabilitation.
22
     39. Due to Plaintiff’s hearing loss, ASL interpretation is necessary to afford her effective
23
     communication in medical settings, particularly for interactive communications such as
24   the discussion of symptoms, presentation of diagnosis and treatment options, and
     rehabilitation of her injuries and wounds.
25

26   40. Without ASL interpretation in medical settings, Plaintiff is not afforded effective
     communication and is at high risk of miscommunication that may lead to misdiagnosis,
27   improper or delayed medical treatment, and/or Plaintiff’s inability to fully participate in
28
     the rehabilitation process for her injuries.
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     41. Antelope Valley Hospital staff repeatedly failed and refused to provide Plaintiff with
     ASL interpreters or any other auxiliary aid or service to ensure effective communication
3    regarding her medical needs, treatment, and rehabilitation during all but one of her
4
     numerous visits to Antelope Valley Hospital between April 8th, 2011 and July 6th, 2021.

5    42. Rather than use an ASL interpreter to communicate directly with Plaintiff, who is an
     independent adult in her 60s, Antelope Valley Hospital instead forced Plaintiff’s family
6
     members and/or personal aids to interpret or provide information about Plaintiff.
7    Antelope Valley Hospital staff also repeatedly gave discharge instructions to Plaintiff’s
     family, rather than directly to Plaintiff.
8

9    43. During her multiple visits to Antelope Valley Hospital, Plaintiff underwent various
     medical exams, treatments, therapies, rehabilitation services, and was administered
10
     numerous medications. However, none of the medical exams, treatments, and
11   medications provided to Plaintiff were effectively communicated to her because of
     Defendant’s failure and/or refusal to provide her with an ASL interpreter or other
12   effective accommodation.
13
     44. To this day, Plaintiff does not understand the reasons for the various exams,
14   treatments, therapies, and rehabilitation services she received, the purpose of the various
15
     rehabilitation tasks or exercises, or the purpose of various medications she was
     administered, or the potential side effects of those medications.
16

17
     45. Plaintiff could not communicate effectively with her doctors, nurses, physical
     therapists, or other Antelope Valley Hospital staff throughout her numerous visits to
18   Antelope Valley Hospital due to Defendant’s failure and/or refusal to provide her with an
     ASL interpreter or any other auxiliary aid or service to ensure effective communication.
19

20   46. Plaintiff was frustrated and distressed at various points throughout her approximately
     four visits to Antelope Valley Hospital because she had no way to effectively
21
     communicate questions and concerns about her medical history and treatment, or
22   effectively communicate how she was feeling and the symptoms she was experiencing.
23
     47. Plaintiff was further frustrated and distressed during each of her visits to Antelope
24   Valley Hospital because she was denied the ability to knowingly participate in and
     consent to her medical care and was denied proper orientation, discharge planning, and
25   the ability to fully participate in her rehabilitation services. Plaintiff was also knowingly
26   isolated and denied the ability to communicate with other residents and staff and denied
     access to programming at Antelope Valley Hospital.
27

28
     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                           8
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1    48. As the direct and proximate result of Defendant’s acts and omissions, described
2
     herein, Plaintiff was excluded from and denied equal access to Defendant’s programs,
     services, and goods. She was segregated and made to feel isolated, subjected to inferior
3    treatment and services, and/or otherwise treated differently and less favorably than
4
     hearing individuals. This, in turn, caused Plaintiff to experience difficulty and discomfort,
     physical and emotional distress, inconvenience, indignity, frustration, embarrassment,
5    humiliation, and a loss of civil rights.
6
     49. Given Plaintiff’s ongoing health issues resulting from her age, her health, and the
7    proximity of her mother’s residence to Antelope Valley Hospital, she is likely to return to
     Antelope Valley Hospital for medical care in the future
8

9    50. From April 8th, 2011 July 6th 2021, engaged in a pattern of intentional discrimination
     against the Plaintiff by reason of her disability of being Deaf by not providing her an
10
     ASL interpreter at each of her medical visits at Antelope Valley Hospital.
11
     51. Defendants continued to discriminate against the Plaintiff after her attorney sent the
12   Defendant a demand letter on April 9th, 2021 when they failed and/or refused to provide
13   the Plaintiff with an ASL interpreter on July, 6th, 2021.

14   52. The Defendants engaged in a pattern of intentional discrimination by providing the
15
     Plaintiff with VRI that was not functioning properly on one or more visits to Antelope
     Valley Hospital. Under the ADA, it is illegal to have VRI service that is not functioning
16   properly. 1 Defendants were aware that providing defective VRI to the Plaintiffs violated
17
     their federally protected rights.

18   53. Defendants never completed an individualized analysis of the Plaintiff’s disability .to
     determine a reasonable accommodation for effective communication. Furthermore, the
19
     Defendants failed to give “primary consideration” to the person with a disability’s choice
20   of auxiliary aid or service.
21
     54. It was not an undue financial burden for Defendants to provide the Plaintiff with a
22   live onsite ASL interpreter for effective communication when it was requested by the
     Plaintiff.
23

24   55. It would not fundamentally alter Defendants’ services to provide an onsite ASL
     interpreter for the Plaintiffs for effective communication.
25

26

27

28   1
      28 C.F.R § 35.160(d)(1-4) (Title II) and 28 C.F.R § 36.303(f)(1-4) (Title III).
     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                           9
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1     56. Defendant’s decision to deny the Plaintiffs an ASL interpreter on numerous occasions
2
      was intentional and/or negligent since she is a frequent visitor at Antelope Valley
      Hospital. There can be no more critical place in which a person is entitled to equal
3     protection and equal participation than in the healthcare setting because decisions are
4
      made in medical facilities that may make a difference between life and death for a
      patient. For a patient with a hearing loss, a breakdown in communication between a
5     medical provider and the patient can be fatal. 2 Unfortunately, only 17% of Deaf signers
      receive an interpreter in healthcare settings. 3
6

7     57. Defendants did not provide equal services to the Plaintiffs like it did for hearing
      patients.
8

9     58. Defendants did not provide equal services for the Plaintiffs because of their disability
      of being Deaf.
10

11    59. Because of Defendants’ intentional discrimination, the Plaintiffs suffered and
      continues to suffer severe emotional pain.
12

13    60. Because of Defendants’ intentional discrimination, the Plaintiff suffered and
      continues to suffer severe emotional pain.
14

15
      61. Finally, the Defendants’ pattern of intentional discrimination towards Deaf patients is
      not a new incident of discrimination. The Defendants were previously sued for failing to
16    provide effective communication to a Deaf patient in 2019. (See Linda Kerstein v.
17
      Antelope Valley Hospital et al., (2:18 cv-8960).

18    62. The record is clear that Defendants refused to provide effective communication to
      patients with a hearing loss and could not communicate as effectively as they could have
19
      with hearing patients. Thus, the Defendants, with deliberate and egregious indifference,
20    deliberately failed to ensure that they could comply with their obligations under the
      Americans with Disabilities Act, the Rehabilitation Act and the Patient Protection and
21
      Affordable Care Act (ACA).
22

23

24

25    2
        Otis, Ginger Adams. “Hospitals' failure to provide interpreter for deaf man led to his death, suit claims” Published
      on May 26, 2015. http://www.nydailynews.com/new-york/bronx/exclusive-deaf-man-died-hospitals-failed-suit-
26    article-1.2235239 Accessed on March 18, 2018.
      3
        Alexander, A., Ladd, P., & Powell, S. (2012). Deafness might damage your health. Lancet, 379(9820), 979–981.
27    doi:10.1016/S0140-6736(11)61670-X as cited in Pertz, L., Plegue, M., Diehl, K., Zazove, P., & McKee, M. (2018).
      Addressing mental health needs for deaf patients through an integrated health care model. Journal of Deaf Studies
28    and Deaf Education, 23, 240-248. doi: 10.1093/deafed/eny002
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1     63. For the Plaintiff, her own medical record shows that Defendants failed to provide in
2
      person qualified ASL interpreters despite Plaintiff’s many requests and despite the fact
      that it is noted in her medical records that she is Deaf. Defendants were put on notice of
3     the needs of Plaintiffs on countless occasions during the course of Plaintiffs’ medical
4
      treatment.

5     64. The Defendants were deliberately indifferent to the Plaintiff’s federally protected
      rights. Under that standard, "a plaintiff must show that the defendant `knew that harm to a
6
      federally protected right was substantially likely' and `failed to act on that likelihood.'" 4
7
      65. Until Defendant’s discriminatory policies are modified, Plaintiff will continue to be
8
      prevented and deterred from participating in and benefitting from Defendant’s goods,
9     services, programs, and activities solely by reason of her disability, and to her detriment.
10
      66.Unless enjoined, Defendant will continue to engage in the unlawful acts and pattern
11    and practice of discrimination described above. Plaintiff has no adequate remedy at law.
      Accordingly, Plaintiff is entitled to injunctive relief.
12

13    67. An actual controversy has arisen and now exists between the parties concerning their
      respective rights, duties, and obligations under Federal and State law. Accordingly,
14    Plaintiff is entitled to declaratory relief.
15
                                   V. CLAIMS FOR RELIEF
16                                FIRST CAUSE OF ACTION
17
           (The Patient Protection and Affordable Care Act, 42 U.S.C. § 18001 et seq.)

18    68. The allegations in paragraphs 1-67 above and the below are incorporated herein by
      reference.
19

20    69. The Defendants are subject to requirements of The Patient Protection and Affordable
      Care Act (ACA) because they receive federal funds to support services and/or programs,
21
      including, but is not limited to, Meaningful Use funds or Medicaid funds.
22
      70. The Plaintiffs are qualified individuals with a disability as defined by the Section 504
23    of the Rehabilitation Act and is subjected to discrimination because they are individuals
24    with a disability.

25

26

27

28    4Silva v. Baptist Health South Florida, Inc 856 F. 3d 824, 841. Internal citations omitted.
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1     71. Section 1557 of the Patient Protection and Affordable Care Act (ACA), ensures that
2
      an individual is not excluded from participating in, denied benefits because of, or
      subjected to discrimination as prohibited under Section 504 of the Rehabilitation Act of
3     1973 (disability), under any health program or activity, any part of which is receiving
4
      federal financial assistance, or under any program or activity that is administered by an
      Executive Agency or any entity established under Title I of the Affordable Care Act or its
5     amendments. 42 USC 18116(a).
6
      72. Defendants discriminated against the Plaintiffs because they are Deaf individuals and
7     refused to provide ASL interpreters to establish effective communication with the
      Plaintiff, failed to provide VRI that was in working order, or relied on family members or
8
      other individuals who are not qualified and/or certified to provide ASL interpreting
9     services.
10
      73. The Plaintiff(s) asked the Defendants for a live onsite ASL interpreter during her
11    multiple emergency visits to Antelope Valley Hospital and her request was either
      forgotten, disregarded and/or denied.
12

13    74. The VRI provided to the Plaintiffs for their medical appointments was not functioning
      properly as to provide effective communication to the Plaintiffs.
14

15
      75. Defendants never completed an individualized analysis of Ms. DaSilva’s disability to
      determine a reasonable accommodation for effective communication.
16

17
      76. The Defendants failed to establish, within their agencies and divisions, policies,
      practices, and procedures required under The Patient Protection and Affordable Care Act
18    (ACA), 42 U.S.C. § 18001 et seq. to ensure that persons who are Deaf are not subjected
      to discrimination.
19

20    77. Section 1557 requires covered entities to give “primary consideration” to the person
      with a disability’s choice of auxiliary aid or service. 81 Fed. Reg. 31421. Auxiliary aids
21
      and services can include, as appropriate, qualified interpreters, a variety of assistive
22    technology devices, and the provision of materials in alternative formats. 45 C.F.R. §
      92.4.
23

24    78. All covered entities, regardless of the number of employees, must provide appropriate
      auxiliary aids and services to people with impaired sensory, manual, or speaking skills,
25    where necessary to afford those individuals an equal opportunity to benefit from the
26    health program or activity. 45 C.F.R. § 92.202(b).

27    79. The Staff and Administrators, in all instances, individually and acting Defendants’
28
      agents, denied the Plaintiff’s request to for an ASL interpreter. They discriminated
      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                        12
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1     against them intentionally, recklessly and with malicious disregard for the Plaintiffs’
2
      federally protected rights, because they are Deaf individuals.

3     80. The acts or omissions of Defendants (or its agents) caused the Plaintiffs to suffer
4
      irreparable harm in the nature of humiliation, limitation of freedom, and other forms of
      intangible injuries to their dignity interests. Each of the discriminatory conditions
5     identified above presents a palpable and substantial deprivation of a degree of the
      Plaintiffs’ much-cherished independence. The injuries sustained by Plaintiff relating to
6
      the Defendants’ discrimination are ongoing until the discriminatory conditions are
7     corrected by preliminary and permanent injunctions, enjoining the Defendants from
      further violations of The Patient Protection and Affordable Care Act (ACA).
8

9     81. Because Plaintiffs are injured by the intentional acts of the Defendants and suffered
      from severe emotional distress (much more than a typical person could be expected to
10
      endure) they are entitled to compensation for such injuries.
11
      82. Furthermore, the Plaintiffs suffered actual financial loss by spending personal funds
12    to travel to meet with their attorney which they would not have otherwise had to spend
13    had the Defendants not prevented them from communicating with their doctors via a
      certified and qualified ASL interpreter by reason of their Deafness.
14

15
      83. The Plaintiffs have been forced to engage the services of an attorney. Therefore, they
      are entitled to an award of the attorney’s fees and cost
16                                 SECOND CAUSE OF ACTION
17
               (Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794, et seq.)

18    84. Plaintiff re-pleads and incorporates by reference the allegations contained in each of
      the foregoing paragraphs, and incorporates them herein as if separately re-pled.
19

20    85. Section 504 of the Rehabilitation Act provides that “no otherwise qualified individual
      with a disability in the United States . . . shall, solely by reason of her or her disability, be
21
      excluded from the participation in, be denied the benefits of, or be subjected to
22    discrimination under any program or activity receiving federal financial assistance.” 29
      U.S.C. § 794(a).
23

24    86. At all times relevant herein Plaintiff met the essential eligibility requirements for the
      receipt of service from Antelope Valley Hospital.
25

26    87. Defendant owns and operates Antelope Valley Hospital.

27    88. Defendant accepts federal financial assistance in the form of Medicare and Medicaid
28
      payments.
      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                               13
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1

2
      89. As a hospital, Antelope Valley Hospital “must operate and provide services in
      compliance with all applicable Federal, State, and local laws, regulations, codes, and with
3     accepted professional standards and principles that apply to professionals providing
4
      services in such a facility.” 42 C.F.R. § 483.75(b).

5     90. In addition, Antelope Valley Hospital is “obliged to meet the applicable provisions of
      other [Department of Health and Human Services] regulations, including but not limited
6
      to those pertaining to . . . nondiscrimination on the basis of handicap (45 C.F.R. part 84).”
7     42 C.F.R. § 483.75(c).
8
      91. Defendant has violated Section 504 be violating, inter alia, the ADA and California
9     law, as described herein.
10
      92. Defendant has also violated Section 504 by, inter alia:
11
      a. Denying Plaintiff, the benefits and services offered at Antelope Valley Hospital on the
12    basis of her disability. 45 C.F.R § 84.52(a)(1);
13
      b. Providing Plaintiff benefits and services that are not equal to those afforded non-
14    disabled individuals. 45 C.F.R § 84.52(a)(2);
15
      c. Providing Plaintiff with benefits or services that are not as effective as the benefits or
16    services provided to others. 45 C.F.R § 84.52(a)(3);
17
      d. Providing benefits or services in a manner that limits or has the effect of limiting the
18    participation of Plaintiff. 45 C.F.R § 84.52(a)(4);
19
      e. Providing different or separate benefits or services to Plaintiff, based on her disability.
20    45 C.F.R § 84.52(a)(5);
21
      f. Failing to take such steps as are necessary to ensure that Plaintiff was not
22    denied effective notice concerning the benefits or services offered at Antelope Valley
      Hospital because of her disability. 45 C.F.R § 84.52(b);
23

24    g. Failing to establish a procedure for effective communication with persons
      with impaired hearing for the purpose of providing emergency health care. 45 C.F.R §
25    84.52(c); and
26
      h. Failing to provide appropriate auxiliary aids to Plaintiff, an individual with
27

28
      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                            14
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1     impaired sensory, manual and speaking skills, where necessary to afford her an equal
2
      opportunity to benefit from the services offered at Antelope Valley Hospital. 45 C.F.R §
      84.52(d)(1).
3

4
      93. Defendant’s duties under Section 504 are mandatory and long-established.
      Defendant is deemed to have had knowledge of its duties at all times relevant herein.
5     Defendant’s failure to carry out these duties as alleged herein was willful and knowing
      and/or the product of deliberate indifference.
6

7     94. Pursuant to 29 U.S.C. § 794a, Plaintiff prays for judgment as set forth below.
8
                                  THIRD CAUSE OF ACTION
9          (Title III of the Americans with Disabilities Act, 42 U.S.C. § 12182, et seq.)
10
      95. Plaintiff re-pleads and incorporates by reference the allegations contained in each of
11    the foregoing paragraphs, and incorporates them herein as if separately re-pled.

12    96. The ADA was passed more than two decades ago “to provide a clear and
13    comprehensive national mandate for the elimination of discrimination against individuals
      with disabilities.” 42 U.S.C. § 12101(b)(1). In enacting the ADA, Congress found that
14    discrimination against persons with disabilities “persists in such critical areas as . . .
15
      health services . . . .” 42 U.S.C. § 12101(a)(3).

16    97. Title III of the ADA provides that “No individual shall be discriminated against on
17
      the basis of disability in the full and equal enjoyment of the goods, services, facilities,
      privileges, advantages, or accommodations of any place of public accommodation by any
18    person who owns, leases (or leases to), or operates a place of public accommodation.” 42
      U.S.C. § 12182(a).
19

20    98. As a hospital, Antelope Valley Hospital is a place of “public accommodations” for
      purposes of Title III. 42 U.S.C. § 12181(7)(F).
21

22    99. Defendant owns and operates Antelope Valley Hospital.
23
      100. Defendant has discriminated against Plaintiff on the basis of her disability in
24    violation of Title III of the ADA. Defendant’s discriminatory conduct includes, inter alia:

25    a. Directly, or through contractual, licensing, or other arrangements, excluding or denying
26    Plaintiff the goods, services, facilities, privileges, advantages, accommodations, and/or
      opportunities offered by Antelope Valley Hospital, on the basis of her disability. 42
27    U.S.C. § 12182(b)(1)(A)(i);
28
      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                          15
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1     b. Providing Plaintiff goods, services, facilities, privileges, advantages, and/or
2
      accommodations that are not equal to those afforded non-disabled individuals. 42 U.S.C.
      § 12182(b)(1)(A)(ii);
3

4
      c. Failing to make reasonable modifications in policies, practices, or procedures as
      necessary to afford Plaintiff with the goods, services, facilities, privileges, advantages, or
5     accommodations offered by Antelope Valley Hospital. 42 U.S.C. § 12182(b)(2)(A)(ii);
6
      d. Failing to take the steps necessary to ensure that Plaintiff is not excluded, denied
7     services, segregated or otherwise treated differently than other individuals because of the
      absence of auxiliary aids and services. 28 C.F.R. §36.303(a);
8

9     e. Failing to furnish appropriate auxiliary aids and services where necessary to ensure
      effective communication with Plaintiff. 28 C.F.R. § 36.303(c);
10

11    f. To the extent that the provision of certain auxiliary aids or services would have resulted
      in a fundamental alteration in the nature of the goods, services, facilities, privileges,
12    advantages, or accommodations being offered or in an undue burden, failing to provide
13    alternative auxiliary aids or services to Plaintiff, to ensure that, to the maximum extent
      possible, she receives the goods, services, facilities, privileges, advantages, or
14    accommodations offered by Antelope Valley Hospital. 28 C.F.R. § 36.303(g).
15
      101. Defendant’s duties under the ADA are mandatory and long-established. Defendant
16    is deemed to have had knowledge of its duties at all times relevant herein. Defendant’s
17
      failure to carry out these duties as set forth herein was willful and knowing and/or the
      product of deliberate indifference.
18
      102. The Plaintiffs have been forced to engage the services of an attorney. Therefore,
19
      they are entitled to an award of the attorney’s fees and costs. §28 CFR 36.505.
20
      103. Pursuant to the remedies, procedures, and rights set forth in 42 U.S.C. § 12188
21
      and 42 U.S.C. § 12205, Plaintiff prays for judgment as set forth below.
22
                                 THIRD CAUSE OF ACTION
23
                   (Unruh Civil Rights Act California, Civil Code § 51, et seq.)
24
      104. Plaintiff re-pleads and incorporates by reference the allegations contained in each of
25    the foregoing paragraphs, and incorporates them herein as if separately re-pled.
26
      105. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia, that persons with
27    disabilities are entitled to full and equal accommodations, advantages, facilities,
28
      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                            16
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1     privileges, or services in all business establishments of every kind whatsoever within the
2
      jurisdiction of the State of California. Cal. Civ. Code § 51(b).

3     106. The Unruh Act also provides that a violation of the ADA is a violation of the Unruh
4
      Act. Cal. Civ. Code § 51(f).

5     107. Antelope Valley Hospital is a business establishment.
6
      108. Defendant owns and operates Antelope Valley Hospital.
7
      109. As the owner and operator of Antelope Valley Hospital, Defendant must comply
8
      with the provisions of the Unruh Act.
9
      110. Defendant has violated the Unruh Act by, inter alia, denying, or aiding or inciting
10
      the denial of, Plaintiff’s rights to full and equal use of the accommodations, advantages,
11    facilities, privileges, or services offered at Antelope Valley Hospital.

12    111. Defendant has also violated the Unruh Act by denying, or aiding or inciting the
13    denial of, Plaintiff’s rights to equal access arising from the provisions of the ADA.

14    112. Defendant’s duties under the Unruh Act are mandatory and long-established.
15
      Defendant is deemed to have had knowledge of its duties at all times relevant herein.
      Defendant’s failure to carry out these duties as set forth herein was willful and knowing
16    and/or the product of deliberate indifference, warranting an award of treble damages.
17
      113. Pursuant to the remedies, procedures, and rights set forth in Cal. Civ. Code § 52,
18    Plaintiff prays for judgment as set forth below.
19
                                 FOURTH CAUSE OF ACTION
20           (California Disabled Persons Act, California, Civil Code § 54.1, et seq.,
                         for statutory damages and attorneys’ fees only)
21

22    114. Plaintiff re-pleads and incorporates by reference the allegations contained in each of
      the foregoing paragraphs and incorporates them herein as if separately re-pled.
23

24    115. The California Disabled Persons Act (“CDPA”) provides that “[i]ndividuals with
      disabilities shall be entitled to full and equal access, as other members of the general
25    public, to accommodations, advantages, facilities, medical facilities, including hospitals,
26    clinics, and physicians' offices, and privileges of all . . . places of public
      accommodation.” Cal. Civ. Code § 54.1(a)(1).
27

28
      116. A violation of the ADA is also a violation of the CDPA. Cal. Civ. Code, §
      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                         17
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1     54.1(d).
2
      117. Antelope Valley Hospital is a place of public accommodation subject to the
3     CDPA.
4
      118. Defendant owns and operates Antelope Valley Hospital.
5
      119. Defendant’s acts and omissions, described herein, violate the rights of Plaintiff
6
      under the CDPA. Defendant has also violated the CDPA by denying, or aiding or inciting
7     the denial of, Plaintiff’s rights to equal access arising from the provisions of the ADA.
8
      120. Defendant’s duties under the CDPA are mandatory and long-established. Defendant
9     is deemed to have had knowledge of its duties at all times relevant herein. Defendant’s
      failure to carry out these duties as set forth herein was willful and knowing and/or the
10
      product of deliberate indifference, warranting an award of treble damages.
11
      121. Pursuant to the remedies, procedures, and rights set forth in Cal. Civ. Code §54.3(a),
12    Plaintiff prays for judgment as set forth below.
13
                                    VI. PRAYER FOR RELIEF
14

15
      WHEREFORE, Plaintiff respectfully requests that this Court:

16    1. Declare that Defendant’s policies and practices discriminate against Plaintiff in
17
      violation of the ACA, ADA, Section 504 and California civil rights law;

18    2. Issue an injunction pursuant to the ADA, Section 504, and Unruh Act ordering
      Defendant to:
19

20    a. develop, adopt and implement non-discrimination policies;
21
      b. develop, adopt and implement policies regarding the provision of effective
22    communication to people who are deaf / hard of hearing;
23
      c. train Antelope Valley Hospital personnel regarding their obligations to provide
24    communication access to individuals who are deaf / hard of hearing and the policies
      developed, adopted and implements pursuant to (a) and (b), above.
25

26    (Note: the Plaintiff is not invoking section 55 of the California Civil Code and is not
      seeking injunctive relief under the California Disabled Persons Act.)
27

28
      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                         18
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1     3. Award Plaintiff special, general, compensatory, and statutory damages in an amount
2
      within the jurisdiction of this court;

3     4. Award Plaintiff attorneys’ fees, litigation expenses and costs of suit, as provided by
4
      law; and

5     5. Award such other and further relief as the Court may deem just and proper.
6
                                VII. DEMAND FOR JURY TRIAL
7
      Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff hereby demands a trial by
8
      jury as to all issues.
9
      Respectfully submitted,
10

11    Dated: September 28, 2021

12

13    /s/ Jared Allebest
      Jared Allebest, Esq.
14    Attorneys for Plaintiff
15

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      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES                       19
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1                                    CERTIFICATE OF SERVICE
2
             I HEREBY CERTIFY that a true and correct copy of the foregoing document was
3     served this 28th day of September 2021, by electronic notice to:
4
      Antelope Valley Hospital
5     1600 W Ave. J
      Lancaster, California 93534.
6
                                             /s/: Jared Allebest
7                                            Jared Allebest, #13485
                                             Attorney for Plaintiffs
8
                                             8978 South Quarry Stone Way
9                                            Sandy, UT 84094
                                             Cell: (949) 322-3991
10                                           Videophone: (801) 204-9055
11                                           Email: Jared@Allebest.com

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